Case 3:24-cv-01150-BAS-VET Document 7 Filed 07/11/24 PageID.270 Page 1 of 2



 1   EUGENE RYU, Bar No. 209104
     Gene.Ryu@klgates.com
 2   YESI LAGUNAS, BAR No. 316008
     Yesi.Lagunas@klgates.com
 3   K&L GATES LLP
     10100 Santa Monica Blvd.
 4   8th Floor
     Los Angeles, CA 90067
 5   Telephone: 310.552.5000
     Fax No.: 310.552.5001
 6
     Attorneys for Defendant
 7   SUN TECHNICAL SERVICES, INC.
     dba BHI ENERGY | STAFFING
 8   SOLUTIONS
 9
                            UNITED STATES DISTRICT COURT
10

11                       SOUTHERN DISTRICT OF CALIFORNIA
12
     RASHAD JIMERSON, on behalf of
13   himself and all others similarly situated,   Case No. 3:24-CV-01150 BEN-VET
     Plaintiffs,
14                                                HON. JUDGE ROBERT T. BENITEZ
     v.
15                                                JOINDER IN DEFENDANT
     SUN Technical Services, Inc., dba BHI        SOUTHERN CALIFORNIA
16   Energy | Staffing Solutions, a California    EDISON COMPANY’S NOTICE
     Corporation; Southern California Edison      OF REMOVAL OF ACTION
17   Company, a California Corporation; and       PURSUANT TO 28 U.S.C.
     DOES 1 through 10, inclusive,                §1441(A) (FEDERAL QUESTION)
18   Defendants.
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                                                             CASE NO.: 3:24-CV-01150-BET-VET
                                                  JOINDER IN DEF. SCE’S NOTICE OF REMOVAL
                                                   OF ACTION PURSUANT TO 28 U.S.C. §1441(A)
Case 3:24-cv-01150-BAS-VET Document 7 Filed 07/11/24 PageID.271 Page 2 of 2



 1         Defendant Sun Technical Services, Inc., dba BHI Energy | Staffing Solutions,
 2   through its attorneys, hereby joins in defendant Southern California Edison
 3   Company’s Notice Of Removal Of Action Pursuant To 28 U.S.C. §1441(a) (“Notice
 4   of Removal”) to this Court of the action entitled, filed in the Court of California,
 5   County of San Diego, Case No. 37-2024-00011927-CU-OE-CTL as described in the
 6   Notice of Removal.
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     Dated: July 11, 2024                          K&L GATES LLP

 9

10                                                  /s/Eugene Ryu
                                                   EUGENE RYU
11                                                 YESI LAGUNAS
12                                                 ATTORNEYS FOR DEFENDANT,
                                                   SUN TECHNICAL SERVICES, INC.
13                                                 dba BHI ENERGY | STAFFING
14                                                 SOLUTIONS
                                                   Email: Gene.Ryu@klgates.com
15                                                 Email: Yesi.Lagunas@klgates.com
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                                                              CASE NO.: 3:24-CV-01150-BET-VET
                                                   JOINDER IN DEF. SCE’S NOTICE OF REMOVAL
                                                    OF ACTION PURSUANT TO 28 U.S.C. §1441(A)
